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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

 RNI, N.V., L.P.,                          CIVIL NO: 1:16-CV-000053

                    Plaintiff,             COMPLAINT; DEMAND FOR
                                           JURY TRIAL
          vs.

 SIDNEY K. KANAZAWA, ESQ., a
 resident of California,
 MCGUIREWOODS, LLP, a Virginia
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 limited liability partnership, and DOE
 DEFENDANTS 1-50,

                   Defendants.

                                    COMPLAINT

       Plaintiff RNI, N.V., L.P. (hereinafter, “Plaintiff”), alleges as follows as its

 Complaint against the above-named Defendants:

                                  INTRODUCTION

       Plaintiff files this Complaint as a precautionary measure to eliminate potential

 statute of limitations claims by Defendants during the pendency of Plaintiff’s appeal

 from final judgments confirming an arbitration award and awarding attorneys’ fees

 in favor of Centex Homes and against Plaintiff, currently pending as Nos. CAAP-

 XX-XXXXXXX and CAAP-XX-XXXXXXX in the Intermediate Court of Appeals of the

 State of Hawaii (the “RNI/Centex Appeal”). Plaintiff offered to enter into a tolling

 agreement with Defendants to obviate the filing of this action pending the

 RNI/Centex Appeal, but Defendants refused. Plaintiff intends to move to stay this

 action pending resolution of the RNI/Centex Appeal.

                                      PARTIES

       1.     Plaintiff RNI, N.V., L.P., is a Nevada limited partnership with its

 principal place of business in Las Vegas, Nevada. The general partner of Plaintiff is

 RNI Nevada, LLC, a Nevada limited liability company with its principal place of



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 business in Las Vegas, Nevada. The limited partners of Plaintiff are citizens and

 residents of either the State of Hawaii or the State of Nevada. Plaintiff purchased

 Unit B-505 at the Beach Villas at Ko Olina, a resort project on O’ahu.

        2.     Defendant Sidney K. Kanazawa is, upon information and belief, a

 citizen and resident of the State of California. Defendant Kanazawa is a partner of

 the law firm of McGuireWoods, LLP and, according to that firm’s website, is

 licensed to practice law in the states of California and Hawai`i.

        3.     Defendant McGuireWoods, LLP is a limited liability partnership

 organized under the laws of the State of Virginia. It has offices in the States of

 Georgia, Texas, Maryland, Virginia, Illinois, Florida, California, New York,

 Pennsylvania, North Carolina, and Delaware, the District of Columbia, and two

 foreign states.

        4.     Doe Defendants 1-50 are persons, partnerships, associations,

 companies, corporations, or entities whose names, identities, capacities, activities

 and/or responsibilities are presently unknown to Plaintiff or its attorneys, except that

 Doe Defendants 1-50 were and/or are subsidiaries, servants, employees,

 representatives, co-venturers, associates, consultants, owners, lessees, lessors,

 guarantors, assignees, assignors, licensees, and/or licensors of Defendants and were

 or are in some manner presently unknown to Plaintiff or its attorneys engaged or

 involved in the activities alleged herein or responsible for the activities of which



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 Plaintiff complain, or should be subject to the relief Plaintiff seeks. Plaintiff prays

 for leave to certify the true names, identities, capacities, activities and/or

 responsibilities of Doe Defendants 1-50 when, through further discovery in this case,

 the same are ascertained. Plaintiff has made a good faith effort to identify said Doe

 Defendants prior to filing this Complaint, including interviewing witnesses and

 reviewing documents on file with the Department of Consumer Affairs and the

 Circuit Court of the First Circuit.

                             JURISDICTION AND VENUE

        5.     This Court has subject matter jurisdiction over this action under 28

 U.S.C. § 1332(a) because there is complete diversity of citizenship between Plaintiff

 and Defendants and the amount in controversy exceeds $75,000, exclusive of

 interest and costs.

        6.     This Court has personal jurisdiction over Defendants because, at the

 pertinent time of the allegations set forth herein, they were conducting business in

 the State of Hawai`i and committed acts in the State of Hawai`i giving rise to

 Plaintiffs’ causes of action.

        7.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a

 substantial part of the events or omissions giving rise to Plaintiff’s causes of action

 occurred in the City and County of Honolulu.




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                              STATEMENT OF FACTS

       8.     Centex    Homes     (“Centex”)    developed     a   luxury    beachfront

 condominium project in a resort setting on the Southwestern coast of the Island of

 Oahu, State of Hawai`i, known as The Beach Villas at Ko Olina (“BVKO”). Centex

 prominently featured and represented in its sales and contract materials the amenities

 that were and would be available to the owners of units in the project. In these sales

 and contract materials, Centex took affirmative steps to conceal from prospective

 purchasers that Centex had given a company unrelated to Centex, Ko Olina

 Development, LLC (“KOD”), an unconditional option to purchase the commercial

 apartments that comprised the amenities and, upon exercising those option rights,

 KOD had the right to exclude the unit owners from access to or use of the amenities.

       9.     In May of 2009, Defendants hosted a meeting at the McGuireWoods,

 LLP office in Century City, California. The purpose of the meeting was to advise

 senior executives from Centex that the owners of condominium units at the BVKO

 (which included Plaintiff) had significant claims against Centex arising from

 Centex’s misrepresentations and omissions regarding the amenities. With the help

 of a power-point presentation that he and his firm had put together, Defendant

 Kanazawa explained to the senior executives of Centex who were in attendance at

 the meeting that the owners of the units at the BVKO project, including Plaintiff,

 had claims against Centex for, among other things, common law fraud, violations of



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 HRS § 514 B-94, HRS § 514 B-67, Hawaii’s UDAP statute, i.e., HRS §§ 480-2 and

 480-13, and were entitled to rescission in connection with their purchases of units

 from Centex.     Defendants Kanazawa and McGuireWoods, LLP believed, and

 represented to Centex, that Centex’s conduct subjected Centex to punitive and treble

 damages as well as the recovery of attorneys’ fees. Defendants Kanazawa and

 McGuireWoods, LLP thus valued the legal claims that the BVKO owners, including

 Plaintiff, had against Centex at more than $100 million. At the Century City

 meeting, Kanazawa told the Centex executives in attendance that they should

 recharacterize the resort’s limited common elements to take those away from KOD’s

 control, and should place restrictions on KOD’s ability to use of the amenities once

 it exercised its option to purchase them.

       10.     About one month after the Century City meeting in June of 2009,

 Centex determined (consistent with Kanazawa’s suggestions at the Century City

 meeting) that it was in Centex’s best interest to attempt to “recharacterize” certain

 limited common elements at the BVKO and to try and restrict what KOD could do

 with the amenities once it purchased them in an effort to ensure that KOD would

 never be able to control those amenities, and thereby exclude unit owners from the

 use thereof. To that end, in June of 2009, Centex began to take affirmative steps to

 try and take from KOD certain rights that KOD had obtained in the amenities by

 virtue of the unconditional option that KOD had previously obtained from Centex.



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       11.     As a result of Centex’s affirmative steps to take away KOD’s rights by

 attempting to “recharacterize” certain limited common elements and impose

 conditions on KOD’s rights in the amenities that it had the option to purchase, KOD

 sued Centex (“The KOD/Centex Action”), and asked the Court to declare that

 Centex did not have the right to “recharacterize” the subject limited common

 elements and did not have the right to impose any conditions on KOD’s rights in the

 amenities. In July of 2009, Centex counterclaimed against KOD, arguing, among

 other things, that its attempted “recharacterization” of certain limited common

 elements was proper in all respects and that it should be able to place restrictions and

 conditions on KOD’s rights in the BVKO amenities. The Federal Court allowed

 Centex to recharacterize the limited common elements, but refused to permit Centex

 to place any conditions on KOD’s rights to the resort’s amenities, finding that KOD

 would be able to essentially do what it pleased with the amenities once it exercised

 the option that Centex had given it to purchase all of the resort’s amenities for one

 dollar. The Ninth Circuit Court of Appeals would ultimately affirm the trial court’s

 decisions.

       12.     Beginning in January 2010, approximately seven (7) months after the

 KOD/Centex Action had been initiated, Defendants counseled Plaintiff to become

 parties to a Settlement and Release Agreement (the “Aggregated Agreement”),

 pursuant to which Plaintiff would forever release its claims against Centex.         In



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 February 2010 and on “behalf” of Defendants’ clients, which included Plaintiff,

 Defendant Kanazawa executed the Aggregated Agreement.              The Aggregated

 Agreement had an Effective Date, as that term is defined in the Aggregated

 Agreement, of February 9, 2010.

       13.     In the Aggregated Agreement, as “consideration” for the full releases

 obtained from more than 85 unit owners, including Plaintiff, Centex agreed only that

 it would continue to pursue its counterclaim as long as the Court in the KOD/Centex

 Action did not declare that Centex did not have the right to “recharacterize” the

 limited common elements or impose conditions on KOD’s use of the amenities.

 Centex has admitted that it intended to continue the prosecution of its counterclaim

 in the KOD/Centex Action whether or not any unit owners agreed to be bound by

 the Aggregated Agreement.

       14.     In return for Defendants Kanazawa’s and McGuireWoods, LLP’s

 efforts in connection with obtaining as many signatories as possible to the

 Aggregated Agreement who would sign away their significant rights against Centex,

 Centex agreed to pay Defendants Kanazawa and McGuireWoods, LLP their “fees,

 expenses and costs” incurred in connection with such efforts. In short, the more

 clients that Defendants Kanazawa and McGuireWoods, LLP could find to agree to

 be bound by the Aggregated Agreement and give up all of their rights against




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 Centex, the more money Centex would pay Defendants Kanazawa and

 McGuireWoods, LLP.

       15.     An attorney-client relationship existed between Plaintiff on the one

 hand, and Defendants Kanazawa and McGuireWoods, LLP, on the other.

       16.     Despite   Defendants    Kanazawa’s      and   McGuireWoods,       LLP’s

 obligations to their clients, Defendants failed to apprise Plaintiff of the significant

 rights that it had against Centex which it was forever giving away by agreeing to be

 bound by the Aggregated Agreement and authorizing Defendant Kanazawa to enter

 into the Aggregated Agreement on their behalf. Those significant rights included, at

 a minimum, the claims and causes of action of which Defendants Kanazawa and

 McGuireWoods, LLP had apprised Centex (through the use of, inter alia, a power-

 point presentation) at, among other times, the meeting referenced above which took

 place in May of 2009 at McGuireWoods, LLP's offices in Century City, California.

       17.     At no time did Defendant Kanazawa or any member of

 McGuireWoods, LLP ever directly meet with, speak to or communicate with

 Plaintiff regarding the significant rights (like those that Defendants had described to

 Centex at the May 2009 Century City meeting) that it was forever releasing by

 permitting Defendants to enter into the Aggregated Agreement on “their behalf.” At

 no time did Defendant Kanazawa or any member of McGuireWoods, LLP ever share




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  with Plaintiff the power-point that Kanazawa used at the May 2009 meeting with the

  Centex executives at his offices.

         18.     At no time did Defendant Kanazawa or any member of

  McGuireWoods, LLP ever explain to Plaintiff that it was forever releasing

  significant rights in return for virtually nothing.

         19.     As a direct and proximate result of Defendant Kanazawa's and

  McGuireWoods, LLP's conduct, as set forth herein, Plaintiff has suffered significant

  damages.

         20.     In or about December 2010, Centex conveyed the commercial

  apartments that comprised the amenities to KOD. In February 2011, KOD denied

  the BVKO residential apartment owners, including Plaintiff, access to and use of the

  amenities.

         21.     Plaintiff, together with Troy Tanga and Kelley Kramers, commenced a

  malpractice and breach of fiduciary duty case against Defendants in the Circuit

  Court of the First Circuit of the State of Hawaii, Civil No. 12-1-2508-10 KKS,

  which Defendants removed to the United States District Court for the District of

  Hawaii, where it was docketed as Case No. 1:12-cv-00590-JMS-BMK (the “First

  Federal Action”).

         22.     On July 18, 2013, the Honorable Virginia Lea Crandall confirmed a 34-

  page arbitration award authored by retired Second Circuit Court Judge Joel August



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  against Centex (the “Nguyen Decision”). That arbitration had been brought by two

  owners of a BVKO unit (Linda and Con Nguyen) who were identically situated to

  Plaintiff, with the exception of the releases that Kanazawa had signed on behalf of

  his clients. In his award, Judge August detailed Centex’s misconduct and then

  concluded that Centex (1) breached the sales contract of the Nguyens (who, again,

  were identically situated to Plaintiffs), (2) violated Hawai`i’s UDAP statute (HRS

  480-2, and 480-13) as it respected the the Nguyens (3) breached the fiduciary duties

  that it (Centex) owed to the Nguyens, (4) was required to repurchase two of the

  Nguyen’s units (i.e., awarded the Nguyen’s rescission), and (5) had to pay all of the

  Nguyen’s attorney’s fees and costs incurred in the arbitration. In other words, Judge

  August found that the KOBV condo owners in that case (the Nguyens)—

  identically situated to Plaintiff for all relevant purposes—had prevailed on the very

  same valuable claims which, at the Century City meeting in 2009, Defendants had

  told Centex that the owners possessed, but which claims Defendants never

  bothered to reveal to Plaintiff.

        23.     Based in part on the findings and conclusions in the Nguyen Decision,

  Plaintiff concluded that the release in the Aggregated Agreement was

  unenforceable and ineffective to release any of Plaintiff’s claims against Centex.

  Accordingly, Plaintiff, Tanga, and Kramers moved to voluntarily dismiss the First

  Federal Action without prejudice in order to pursue their claims against Centex in



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  arbitration.    Plaintiff specifically stated in that motion that, if Plaintiff was

  unsuccessful in having the release in the Aggregated Agreement held

  unenforceable, then Plaintiff may again seek to pursue its claims against

  Defendants. Defendants stipulated to the voluntary dismissal of the First Federal

  Action without prejudice, and with certain conditions, and the Court approved the

  stipulation on September 5, 2013.

        24.      On or about September 9, 2013, Plaintiff, Tanga, and Kramers, together

  with Charles and Linda Carson and Ronald and Joan Parsons, two couples who

  owned units at the BVKO and on whose behalf Kanazawa had signed the

  Aggregated Agreement (collectively, the “Arbitration Claimants”), commenced an

  arbitration against Centex before Dispute Prevention and Resolution, Inc., and

  former Chief Justice Ronald Moon was appointed as the arbitrator.

        25.      The Arbitration Claimants argued to Arbitrator Moon that the release in

  the Aggregated Agreement was unenforceable. The Arbitration Claimants argued in

  the alternative to Arbitrator Moon that even if the release in the Aggregated

  Agreement was enforceable it did not cover their breach of contract claims because

  those claims had first accrued in February 2011, which was supported by Judge

  August’s determination in the Nguyen Decision.

        26.      Arbitrator Moon rejected the Arbitration Claimants’ arguments and

  entered a summary judgment in favor of Centex that the Aggregated Agreement was



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  enforceable and effective to release all of the Arbitration Claimants’ claims against

  Centex. Arbitrator Moon entered a final arbitration award in favor of Centex and

  awarded Centex almost $750,000 in attorneys’ fees and costs.

        27.     Centex moved to confirm the arbitration award and the Arbitration

  Claimants moved to vacate the arbitration award before the Circuit Court of the First

  Circuit of the State of Hawaii, in Case S.P. No. 14-1-0156 (ECN). The Circuit

  Court, by the Honorable Edwin C. Nacino, denied the motions to vacate and granted

  the motions to confirm the arbitration award and entered a final judgment on July

  29, 2014. The Arbitration Claimants filed a notice of appeal from the judgment.

        28.     Centex commenced collection actions against the Arbitration

  Claimants. Plaintiff was able to post a supersedeas bond to stop collection actions

  against it, but the other Arbitration Claimants could not post such a bond.

  Accordingly, Tanga, Kramers, the Carsons, and the Parsons settled with Centex and

  dismissed their appeal. Plaintiff continued to pursue its appeal.

        29.     On December 4, 2014, Judge Nacino entered a supplemental final

  judgment awarding Centex attorneys’ fees and costs incurred in the Circuit Court

  proceeding against Plaintiff. Plaintiff filed a notice of appeal from the supplemental

  final judgment.

        30.     Plaintiff’s appeal from the July 29, 2014 final judgment is pending

  before the Hawaii Intermediate Court of Appeals as Case No. CAAP-XX-XXXXXXX.



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  Plaintiff’s appeal from the December 4, 2014 supplemental final judgment is

  pending before the Hawaii Intermediate Court of Appeals as Case No. CAAP-14-

  0001373. Briefing has concluded on the appeals, which have been consolidated.

        31.     If the ultimate resolution of the RNI/Centex Appeal is the affirmance of

  Judge Nacino’s judgment confirming Arbitrator Moon’s award, then Defendants’

  wrongful conduct will have proximately caused Plaintiff to lose all of its valuable

  claims against Centex.      If, in the alternative, the ultimate resolution of the

  RNI/Centex Appeal is the reversal of Judge Nacino’s judgment and the vacating of

  Arbitrator Moon’s award, then Plaintiff may still be able to pursue claims against

  Centex, notwithstanding Defendants’ wrongful conduct.

                                 CAUSES OF ACTION

  Count One: Legal Malpractice

        32.     Plaintiff repeats and incorporates by reference its allegations in

  paragraphs 1 through 31 of this Complaint.

        33.     Plaintiff, on the one hand, and Defendants Kanazawa and

  McGuireWoods, LLP, on the other hand, had an attorney-client relationship.

        34.     Defendants Kanazawa and McGuireWoods, LLP owed Plaintiff a duty

  to use such skill, prudence, and diligence as lawyers of ordinary skill and capacity

  commonly possess and exercise in the performance of the tasks that they undertake.




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        35.     Defendants Kanazawa and McGuireWoods, LLP breached their duty to

  Plaintiff by, among other things, negotiating a settlement that gave away (unless

  Judge Nacino’s judgment is reversed and Arbitrator Moon’s award is vacated)

  Plaintiff’s rights for almost no value, negotiating a settlement that rewarded

  themselves at the expense of Plaintiff, failing to adequately advise Plaintiff of the

  rights, claims and prospective damages it was releasing, failing to disclose to

  Plaintiff that they were being paid by Centex to sign up unit owners to release their

  claims, and binding Plaintiff to a settlement that no reasonable attorney, having

  undertaken a reasonable investigation into the facts and law as would be appropriate

  under the circumstances and with knowledge of the same facts, would have

  recommended.

        36.     There is a causal connection between the breaches of duty by

  Defendants Kanazawa and McGuireWoods, LLP, and Plaintiff’s injuries.

        37.     Plaintiff suffered actual loss or damages as a result.

  Count Two: Breach of Fiduciary Duty

        38.     Plaintiff repeats and incorporates by reference its allegations in

  paragraphs 1 through 37 of this Complaint.

        39.     As Plaintiff’s attorneys, Defendants Kanazawa and McGuireWoods,

  LLP owed Plaintiff fiduciary duties.




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        40.     Defendants Kanazawa and McGuireWoods, LLP breached their

  fiduciary duties to Plaintiff by, among other things, failing to obtain informed

  consent before entering into a settlement that aggregated the claims of the unit

  owners; failing to advise Plaintiff that entering into a settlement that aggregated the

  claims of the unit owners gave rise to a conflict of interest between Defendants and

  each member of the group, including Plaintiff; concealing material facts from

  members of the group, including Plaintiff; and failing to ensure the settlement with

  Centex (including the term for payment of Defendants Kanazawa and

  McGuireWoods, LLP by Centex) were fair and equitable to Plaintiff. Defendants

  failed to make reasonable use of the confidence that Plaintiff placed in them; failed

  to act in the utmost good faith and exercise the most scrupulous honesty toward

  Plaintiff; failed to place the interests of Plaintiff before their own; they used the

  advantage of their position to gain benefits for themselves at the expense of Plaintiff;

  placed themselves in a position where their self-interest conflicted with their

  obligations as a fiduciary; and failed to fully and fairly disclose all material

  information to Plaintiff concerning the settlement with Centex.

        41.     Indeed, the Aggregated Agreement was an aggregated settlement of the

  various claims of the group of unit owners which required Defendants to comply

  with Rule 1.8(g) of the Hawai`i Rules of Professional Responsibility. Prior to

  entering into the Aggregated Agreement, Defendants failed to obtain informed



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  consent from the group including, but not limited to, the terms and conditions of the

  Aggregated Agreement, the existence and nature of all claims and defenses involved

  in the Aggregated Agreement, the details of each group member’s participation in

  the Aggregated Agreement, and the total fees and costs to be paid to Defendants as a

  result of the Aggregated Agreement, including the fact that the fees and costs were

  being paid by Centex.

           42.     Defendants Kanazawa’s and McGuireWoods, LLP’s breaches of

  fiduciary duties proximately caused injury to Plaintiff.

           43.     Plaintiffs suffered certain actual loss or damages as a result.

           WHEREFORE, Plaintiff pray for relief as follows:

           A.      For damages against the Defendants in an amount to be determined at

  trial;

           B.      For punitive damages in an amount to be determined at trial;

           C.      For reimbursement of costs and expenses, including their reasonable

  attorneys’ fees;

           D.      For prejudgment and post-judgment interest at the highest rates

  permitted by law; and

           E.      For such further and additional relief as the Court finds just and

  equitable.




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        DATED: Honolulu, Hawai`i, February 8, 2016.



                                     /s/ J. Robert Arnett II
                                     MICHAEL A. LILLY
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                                     J. ROBERT ARNETT II
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